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 AO 106 (Rev. 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Southern District of Ohio

                In the Matter of the Search of
          (Briefly describe the property to be searched
           or identify the person bY name and address)
               3296 E. 7th Avenue, Apartment C,
                    Columbus, Ohio 43219


                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prpperty to be searched and give its location):
  3296 E. 7th Avenue Columbus, Ohio 43219
located in the      ~~~~~~~
                            Southern              District of   ~~~~~~~~~~-
                                                                           Ohio             , there is now concealed (identify the
person or describe the property to be seized):
  Narcotics, Narcotics proceeds, and any records, receipts, notes, ledgers, vehicle rental receipts, money orders, airline
 tickets, and other records related to the receipt, and sales of narcotics. See Attachment B

             The basis for the search under Fed. R Crim. P. 41(c) is (check one or more):
                  ~evidence of a crime;              .
                  rt/ contraband, :fi:Uits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be an-ested or a person who is unlawfully restrained.

             The search is related to a violation of:
               Code Section                                                      Offense Description
        21   u.s.c. 841                           Possession with Intent to Distribute a Controlled Substance.
        21   u.s.c. 846                           Conspiracy to Possess with Intent to Distribute a Controlled Substance

             The application is based on these facts:
        See Attached Affidavit.

             ~ Continued on the attached sheet.
             0 Delayed notice of _ _ days (give exact ending date if more than 30 days:                             ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                           ,kP ~~                                    ti. lm?..

                                                                                           Printed name and title

Sworn to before me and signed in my presence.


Date:             12/01/2017


City and state: Columbus Ohio
                                                                                           Printed name and title
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                         AFFIDAVIT FOR SEARCH WARRANT

This affidavit incorporates by reference the assertions stated in the affidavit in support of the
search warrant executed on December 1, 2017 at Stor All Self Storage unit #496 located at
4060 E Main St Columbus Ohio 43213 in the Southern District of Ohio.

                                                I.
                                        INTRODUCTION


1. I am a Columbus Ohio Police officer assigned as a Task Force Officer with the Bureau

    of Alcohol Tobacco and Firearms. The Columbus Division of Police has employed me

    since 2007. My responsibilities as a Task Force Officer include the investigation of

    violent criminal street gangs, narcotics traffickers, money launders, firearm-related

    crimes, an various illegal income generating schemes. I have participated in the

    execution of search warrants and arrests related to the above-referenced offenses.

2. I have conducted covert surveillance, interviewed numerous individuals, been a

    member of surveillance teams, participated in the execution of numerous state and

    federal search and arrest warrants involving firearm and/or illegal narcotic traffickers

    and violent offenders, and participated in the seizure of numerous firearms and

    controlled dangerous substances.

3. The facts in this affidavit come from my personal observations, my training and

    experience, and information obtained from police officers, Ohio State Highway Patrol

    investigators, and investigative subpoenas. This affidavit is intended to show merely

    that there is sufficient probable cause for the requested warrant and does not set forth

    all of my knowledge about this matter.

4. Based on the facts set forth in this affidavit, there is probable cause to believe that inside

    of 3296 E 7th Ave Apt C Columbus Ohio 43219 there exists evidence of violations of


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    Title 21 U.S.C. 841, possession with the intent to distribute a controlled substance, and

    Title 21 U.S.C. 846 conspiracy to possess with the intent to distribute a controlled

    substance.

5. I have not included all of the information relevant to the investigation in this affidavit,

    but I do not believe that I have omitted any information that would have a tendency to

    defeat a showing of probable cause. To the best of my knowledge and belief, all

    statements made in this affidavit are true and correct.


                                                     II.

                                  PURPOSE OF AFFIDAVIT

       This affidavit is submitted for the limited purpose of establishing probable cause

in support of an application of a warrant to search 3296 E 7th Ave Apt C Cohµnbus Ohio

43219 therefore contains only a summary of the relevant facts. I have not included each

and every fact that I, or others, have learned during the course of this investigation. The

information set forth in this affidavit is based on my own participation in the

investigation, information I have received from other law enforcement officials and from

my other agents' analysis of documents and records relating to this investigation. As one

of the case agents on this investigation, I am familiar with the investigative efforts of

other agents/Columbus Police Detectives who have worked on this investigation.

Further, I am familiar with the evidence gathered through the issuance of state search

warrants and information provided to myself and other agents by cooperating individuals

and informants.

       I believe there exists sufficient probable cause that evidence of the violations:

21 U.S.C. § 841 (Possession with the intent to distribute a controlled substance) and 21

U.S.C. ·846 (Conspiracy to possess with the intent to distribute a controlled substance)

exists and can be found at the following location:



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    a. 3296 E 7th Ave Apt C Columbus Ohio 43219.


                                               III.
                                  ITEMS TO BE SEIZED
        Narcotics, narcotics proceeds, and any records, receipts, notes, ledgers, vehicle

rental receipts, negotiable instruments, currency, money orders, airline tickets, and other

records and items related to the receipt, possession, sales, and conspiracy to possess with

the intent to distribute, narcotics. I believe that there is probable cause to believe that the

listed items will be in 3296 E 7th Ave Apt C Columbus Ohio 43219.

                                         IV.
                                      INVESTIGATION

    Investigators were informed by a cooperating source (CS) that Floyd Williams and

Douglas Berry both sell between 10-15 kilos of cocaine a month in the Columbus Ohio

area. The CS stated that the narcotics are shipped in from California and then distributed

in Columbus Ohio. The CS stated when they move narcotics they travel in convoys of

two - three vehicles.

   On November 30th 2017 at approximately 3:10 p.m. investigators utilizing

surveillance techniques observed Douglass BERRY enter the code to enter the controlled

access gate for Stor All Self Storage located at 4060 E Main St Columbus Ohio 43213

which is a multiunit storage facility. Investigator have been involved in a narcotics

investigation involving BERRY and other individuals. BERRY is currently on Federal

supervised release for a previous narcotics conviction. After leaving the storage unit

BERRY returned to his home of 8789 Linick Dr, Reynoldsburg, Ohio 43068. A vehicle




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commonly used by BERRY then left his home and went to 7743 Astra Circle,

Reynoldsburg, Ohio.

       On December 1, 2017, investigators contacted Ohio State Patrol Trooper Matt

Ruth and his trained narcotics alerting K-9 Katie. Trooper Ruth deployed K-9 Katie near

a shared hallway which consisted of approximately six distinct storage units at the Stor

All facility at 4060 E. Main St., Columbus, Ohio 43213. Katie made an immediate

positive narcotics alert on unit #496 at approximately 11 :36 a.m.



   On December 1, 2017 at approximately 4:02 p.m. investigators executed a search

warrant on Stor All Self Storage unit 496 located at 4060 E Main St Columbus Ohio

43213. Inside investigators found two large wooden boxes with shipping labels. The

labels showed that the boxes weighed 560 lbs and had been shipped from California to

Columbus. Also found inside the unit were tools to open the boxes and p_ackaging for two

rolling duffel bags, one gray and one black. Investigators removed the boxes and their

packaging from the storage unit and spread them apart in an open area. Officer of J

Hartman of the Columbus Airport Police and her K-9 Daron arrived. Officer Hartman

deployed Daron. Daron alerted to the inside of one of the empty wooden boxes.



   On the morning of December 1, 2017 investigators utilized surveillance techniques

and observed an individual known to ~nvestigators as Floyd WILLIAMS leaving 7743

Astra Circle at approximately 11:49 a.m. WILLIAMS left as part of a two-car convoy.

WILLIAMS went to 3296 E 7th Ave Columbus Ohio 43219 at approximately 12:08 p.m.

WILLIAMS exited his vehicle and entered APT C with a large grey duffle bag at



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approximately 12:10 p.m. WILLIAMS was observed outside of the apartment at 12:13

p.m. at without the grey duffel bag but with a red bag which he threw into a dumpster.

Investigators later retrieved the red bag and it contained wrappings and packaging

consistent with drug trafficking (commonly known as "kilo wrappers"). Previously, on

or about November 6, 2017, at a house associated with WILLIAMS, law enforcement

officers located a quantity of suspected black tar heroin in a small plastic baggy, two

money counting machines, and next to one of the money counting machines, a large bag

of small size rubber bands commonly used to tie off small baggies used for drugs.



    On December 1, 2017, investigators utilized surveillance techniques observed and

identified an individual known to investigators as Wydell COBB exiting and reentering

the apartment at 3296 E. 7th Ave Columbus Ohio 43219. Previously, on or about

September 1st 2017, investigators executed a search warrant at 1162 Zebulon Ave

Columbus Ohio 43224 as part of this investigation. Prior to the execution of the search

warrant COBB arrived in a vehicle with an individual known to investigators as Chad

TUBBS. Found inside the vehicle during the execution of the search warrant were a

stolen handgun approximately $5,513.00 in US currency and approximately a half kilo of

cocaine.


                                             v.
                                       CONCLUSION

Through my experience and my discussions with other experienced law enforcement

officers, I am familiar with the ways in which narcotics traffickers conduct their business,.

including, but not limited to, their methods of obtaining, importing, storing and



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distributing narcotics, conspiring with other individuals to traffic narcotics, and their

methods of laundering the proceeds of their illegal activities. I am familiar with the

methods, schemes, and operations used by major narcotics traffickers and know:



           a. It is my experience that narcotics traffickers routinely store and move

               narcotics and associated indicia of narcotics trafficking between

               residential locations and commercially paid storage facilities in the names

               of fictitious individuals and real individuals with falsely listed addresses.

           b. It is my experience that narcotics traffickers routinely enlist other

               individuals to assist in the distribution of narcotics and frequently discard

               narcotics paraphernalia and wrappings near the locations where narcotics

               are stored.

           c. It is my experience that currency transactions that are conducted enable

               drug traffickers to invest the cash proceeds of their illicit businesses into

               an asset, thereby legitimizing the currency.

           d. That narcotics traffickers are known to trade drugs for items of monetary

               value;

           e. That some narcotics traffickers conduct various transactions, including the

               purchase of vehicles and real estate, in order to create an appearance that

               their income is derived from legitimate sources.

           f. That narcotics traffickers must maintain, on hand, large amounts of United

               States currency .in order to maintain and finance their ongoing narcotics

               trafficking business;



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        g. That narcotics traffickers maintain books, records, receipts, notes, ledgers,

             and other papers relating to the sale of controlled substances, firearms, and

             the purchases of assets, including vehicles and real estate and other

             financial instruments;

        h. That the aforementioned books, records, receipts, notes, ledgers, etc., are

             commonly maintained where the narcotics traffickers have ready access to

             them, i.e., homes, businesses, and automobiles.

        i.   That it is common for narcotics traffickers to secrete contraband, proceeds

             of narcotics sales, and records of narcotics transactions, sources, and

             customers, in secure locations within their residences, businesses, garages,

             storage buildings, and safety deposit boxes for ready access, and also to

             conceal such items from law enforcement authorities;

        j.   That persons involved in such trafficking and laundering conceal caches of

             firearms, narcotics, large amounts of currency, financial instruments,

             precious metals, jewelry, other items of value and/or proceeds of drug

             transactions, and evidence of financial transactions relating to obtaining,

             transferring, secreting, or spending large sums of money made from

             engaging in narcotics trafficking activities, in their residences, businesses,

             garages, storage buildings, automobiles, and safety deposit boxes;

        k. That narcotics traffickers commonly maintain addresses or telephone

             numbers in books, papers, pagers, or cellular phones (and often have

             multiple cellular phones and pagers) which reflect names, addresses,

             and/or telephone numbers for their associates in the trafficking



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            organization, even if said items may be in code;

        L That narcotics traffickers frequently take, or cause to be taken,

           photographs of themselves, their associates, their property, and their

           product, and that these traffickers usually maintain these photographs in

           their residences, businesses, and automobiles;

        m. That when narcotics traffickers amass large monetary proceeds from the

           sale of narcotics, they attempt to legitimize these profits by utilizing

           foreign and domestic banks and their attendant services, including

           securities, cashier's checks, money drafts, letters of credit, brokerage

           houses, real estate, shell corporations, business fronts and other methods;

        n. That narcotics traffickers sometimes store documents and records relating

           to their narcotics suppliers, customers, money, and assets on computer

           hardware and software, the contents of which frequently yield evidence of

           trafficking and money laundering crimes;

        o. That courts have recognized that unexplained wealth is probative evidence

           of criminal activity in which transactions involving large amounts of cash

           and high profit margins are common, including trafficking in controlled

           substances;

        p. That it is common for narcotics traffickers and money launderers to

           conceal and store items related to their narcotics trafficking and money

           laundering within safes, footlockers, boxes, containers and other hidden

           compartments, and within places that they own or over which they

           exercise control such as residences, businesses, and automobiles.



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           q. Individuals who possess narcotics store them and associated

               acquisition/disposition documents at their residences, businesses, and/or in

               their vehicles;


In view of the above mentioned facts and my training and experience in the investigation of
narcotics and financial crimes, I have probable cause to believe that contained at 3296 E 7th
Ave Apt C Columbus Ohio 43219 is evidence of:

       a. 21 U.S.C. § 841 Possession with intent to distribute a controlled substance.
       b. 21 U.S.C. § 846 Conspiracy to Possess with Intent to Distribute a Controlled
          Substance



Accordingly, I respectfully request that the Court issue the following:


           (a) A Search Warrant for 3296 E 7th Ave Apt C Columbus Ohio 43219 ..

           (b) Authority to execute the Search Warrant at any time of day that law
               enforcement deems necessary.

           (c) An Order sealing the Application, Affidavit, and Search Warrant until
               further Order of this Court.



FURTHERAFFIANTSAYETHNAUGHf

                                                        ~~tJ25lf'l
                                                      ATF Task Force Officer
                                                      Samuel Chappell


Sworn to before me, and subscribed in my presence, on this      1 (')+    day of December
2017, at Columbus, Ohio.




                                          ~@~ TeHorumtlJieIGmly A. Jolson
                                              United States Magistrate Judge
                                              Southern District of Ohio


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                                ATTACHMENT A

                              Premises to be Searched


The premise to be searched is 3296 E 7th Ave Apt C Columbus Ohio 43219. The unit is"
is clearly marked with "C" beside the front door. The front door is green.




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                                     ATTACHMENT B

                                     Items to be Seized


    I . All records and other documents related to the possession, storage, sale, and
        delivery of illegal controlled substances.

    2. Books, records, receipts, notes, ledgers, or electronic data relating in any way to the
       possession, storage, sale, and delivery of illegal controlled substances.

    3. Cash, currency, stored value cards, cashier's checks, and records relating to income
       and expenditures of money and wealth from illegal controlled substances, to wit,
       money order, wire transfer and cashier's check receipts, and bank statements,
       passbooks, checkbooks, check registers, safe deposit boxes and storage units and
       associated keys and records of such ownership, stored value cards and access
       devices, and safes and associated keys and records of such ownership.

    4. Indicia of occupancy, residency, and ownership or use of the use of the subject
       premises, including, but not limited to, purchase or lease agreements, identification
       documents, and keys.

    5. Address and/or telephone books, rolodex indicia, electronic organizers, telephone
       paging devices and the memory thereof and any papers, records or electronic data
       reflecting names, addresses, telephone numbers, and social media monikers of
       sources of drug supply or drug customers.

    6. Controlled substances and drug paraphernalia, including chemical dilutants,
       firearms and other weapons, ammunition, weighing scales, mixing bowls, glassine
       bags, spoons, and other items utilized in the weighing and packaging of illegal
       controlled substances.

    7. Computers, tablets, external electronic storage media (such as external hard drives
       and computer disks) and other associated equipment and accessories necessary to
       examine and record data stored in said computers and storage media (such as
       monitors, printers, external drives, and other peripherals) associated with tracking
       the possession, storage, sale, and delivery of illegal controlled substances.

    8. Cell phones or purchase receipts for such items.

   9. Photographs of known targets including BERRY, WILLIAMS, and COBB.

All of which constitute fruits, evidence and/or instrumentalities of violations of Title 21,
United States Code, Sections 841 and 846.




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